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 8                               UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11     ALAN FREAS, JR., an individual,                       Case No.: 3:17-cv-01761-H-AGS
12                                           Plaintiff,
                                                             ORDER
13     v.
                                                             (1) SUBMITTING MOTION ON THE
14     BMW OF NORTH AMERICA, LLC, a
                                                             BRIEFS
       Delaware corporation; and DOES 1
15
       through 10,
                                                             (2) DENYING DEFENDANT’S
16                                        Defendants.        MOTION TO TRANSFER VENUE
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                                                             (3) REQUIRING SUPPLEMENTAL
18
                                                             SUBMISSIONS ADDRESSING THE
19                                                           COURT’S JURISDICTION
20
                                                             [Doc. No. 15]
21
22           On August 1, 2017, Plaintiff Alan Freas, Jr. (“Plaintiff”) filed a complaint against
23    Defendant BMW of North America (“Defendant”) in the Superior Court of San Diego
24    County, alleging a violation of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 et
25    seq.1 (Doc. No. 1-3.) On August 31, 2017, Defendant removed the action to this District,
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28           The complaint also asserted a claim under California’s Song-Beverly Consumer Warranty Act,
      Cal. Civ. Code § 1790 et seq., but Plaintiff stipulated to the dismissal of that claim. (Doc. Nos. 7, 8.)

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 1    and filed an answer to the complaint. (Doc. Nos. 1, 2.)
 2           On November 9, 2017, Defendant filed a motion to transfer this action to the District
 3    of Nevada pursuant to 28 U.S.C. § 1404(a). 2 (Doc. No. 15.) Plaintiff filed an opposition
 4    to the motion on December 4, 2017, (Doc. No. 16), and Defendant filed a reply on
 5    December 11, 2017. (Doc. No. 17.) For the reasons below, the Court now denies the
 6    motion.
 7                                                Background
 8           This action arises out of Plaintiff’s purchase of a used 2011 BMW 740i from
 9    Defendant in Las Vegas, Nevada in March of 2014. (Doc. No. 1-3 at ¶ 7.) Plaintiff alleges
10    that the vehicle “was delivered to Plaintiff with serious defects and nonconformities to
11    warranty and developed other serious defects and nonconformities to warranty including,
12    but not limited to, various engine, HVAC, electrical, and structural defects.” (Id. ¶ 9.)
13    Plaintiff alleges that Defendant violated several state law warranties actionable through the
14    federal Magnuson-Moss Warranty Act “by failing to repair the defects and
15    nonconformities, or to replace or repurchase the vehicle.” (Id. ¶ 34.) Although Plaintiff
16    purchased the allegedly defective vehicle in Nevada, he now resides in San Diego,
17    California. (Doc. No. 1-3 at ¶ 1.)
18                                                 Discussion
19    I.     Legal Standard
20           A district court may transfer an action to a different venue pursuant to 28 U.S.C.
21    § 1404(a) “[f]or the convenience of parties and witnesses” and “in the interest of justice,”
22    so long as the action could have been filed in the transferee district in the first instance.
23    28 U.S.C. § 1404(a). The district court must “adjudicate motions for transfer [of venue]
24    according to an individualized, case-by-case consideration of convenience and fairness.”
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27    2
             A hearing on the motion is scheduled for December 18, 2017. Pursuant to its discretion under
28    Local Civil Rule 7.1(d)(1), the Court determines the matter to be appropriate for resolution without oral
      argument, submits it on the papers, and vacates the motion hearing.

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 1    Jones v. GNC Franchising, Inc., 211 F.3d 495, 498 (9th Cir. 2000) (quoting Stewart Org.
 2    v. Ricoh Corp., 487 U.S. 22, 29 (1988) (internal quotation marks omitted)).
 3          In deciding a motion to transfer venue, courts typically weigh a number of public
 4    and private factors, including: “(1) the location where the relevant agreements were
 5    negotiated and executed, (2) the state that is most familiar with the governing law, (3) the
 6    plaintiff’s choice of forum, (4) the respective parties’ contacts with the forum, (5) the
 7    contacts relating to the plaintiff’s cause of action in the chosen forum, (6) the differences
 8    in the costs of litigation in the two forums, (7) the availability of compulsory process to
 9    compel attendance of unwilling non-party witnesses, and (8) the ease of access to sources
10    of proof.” Jones, 211 F.3d at 498-99.
11          The burden is generally on the moving party to establish that a transfer will allow a
12    case to proceed more conveniently and better serve the interests of justice. See, e.g., CFTC
13    v. Savage, 611 F.2d 270, 279 (9th Cir. 1979). A plaintiff’s choice of venue is accorded
14    deference in the absence of strong reasons to transfer the action. See, e.g., Gulf Oil Corp.
15    v. Gilbert, 330 U.S. 501, 508 (1947) (“[U]nless the balance is strongly in favor of the
16    defendant, the plaintiff’s choice of forum should rarely be disturbed.”); Decker Coal Co.
17    v. Commonwealth Edison Co., 805 F.2d 834, 842 (9th Cir. 1986) (“The defendant must
18    make a strong showing of inconvenience to warrant upsetting the plaintiff’s choice of
19    forum.”).
20    II.   Analysis
21          Defendant argues that this action should be transferred to the District of Nevada for
22    three reasons. First, Defendant argues that the District of Nevada has more significant
23    contacts with the action than the Southern District of California because the allegedly
24    defective vehicle was purchased and predominantly serviced in Nevada.                Second,
25    Defendant argues that Nevada law governs Plaintiff’s Magnuson-Moss Warranty Act claim
26    because the allegedly defective vehicle was purchased in Nevada, and that the case should
27    therefore be transferred because the District of Nevada has more experience than this Court
28    in applying Nevada law. Finally, Defendant argues that transfer is necessary because

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 1    several key witnesses reside in Nevada, and would be unwilling to travel to this District to
 2    testify. (See Doc. No. 15.)
 3             Plaintiff, by contrast, opposes transfer on the grounds that: (i) as a California
 4    resident, transferring this case to Nevada would cause Plaintiff significant hardship;
 5    (ii) California and not Nevada law governs the warranties at issue in this lawsuit; and
 6    (iii) Defendant has not showed that any Nevada witnesses are actually important or
 7    necessary to the resolution of this lawsuit. (Doc. No. 16.)
 8           After reviewing the parties’ submissions, the Court is not persuaded that transferring
 9    this case would be “in the interest of justice.” 28 U.S.C. § 1404(a). Although Plaintiff
10    purchased and originally serviced the allegedly defective vehicle in Nevada, he most
11    recently took the vehicle for service in Escondido, California, and resides within this
12    District. (Doc. No. 15 at 4.) On balance, the Court does not view the difference in this
13    lawsuit’s contacts with Nevada and San Diego, respectively, as significant enough to
14    displace Plaintiff’s choice of forum.
15           Moreover, assuming that Nevada law governs the substantive warranties at issue in
16    Plaintiff’s Magnuson-Moss claim, 3 the Court does not view the presence of Nevada law as
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               Broadly speaking, the Magnuson-Moss Warranty Act creates two different causes of action. See
19    Schimmer v. Jaguar Cars, Inc., 384 F.3d 402, 405 (7th Cir. 2004) (explaining the two types of action
20    created by the Act). First, a consumer may bring suit against a warrantor if the warrantor offers a warranty
      that fails to comply with the federal minimum standards set by the Act. See 15 U.S.C. § 2310(d)(1) (A
21    “consumer who is damaged by the failure of a . . . warrantor . . . to comply with any obligation under this
      chapter . . . may bring suit for damages and other legal and equitable relief[.]”). Second, the Act permits
22    consumers to sue in federal court for violations of state law warranties without meeting federal diversity
      requirements. See id. (A “consumer who is damaged by the failure of a . . . warrantor . . . to comply with
23    any obligation . . . under a written warranty, implied warranty, or service contract” may sue.); see also
24    Gardynski-Leschuck v. Ford Motor Co., 142 F.3d 955, 956 (7th Cir. 1998).
               Plaintiff’s complaint alleges that Defendant “violated the Mag-Moss Act when [it] breached the
25    express warranty and implied warranties” created at the time of sale “by failing to repair the defects and
      nonconformities, or to replace or repurchase the vehicle.” (Doc. No. 1-3 at ¶ 34.) Because Plaintiff’s
26    Magnuson-Moss claim is premised on Defendant’s alleged violation of express and implied warranties
      governed by state law, the Court must look to state law in adjudicating Plaintiff’s claim. Clemens v.
27    DaimlerChrysler Corp., 534 F.3d 1017, 1022 n.3 (9th Cir. 2008). The parties dispute which state’s law—
28    California or Nevada—governs the express and implied warranties at the heart of Plaintiff’s claim. The
      Court declines to resolve this dispute at this stage of the proceedings. However, the Court notes that there

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 1    a strong reason to transfer the case. The Court is regularly called to apply law from
 2    jurisdictions other than California in diversity cases, and there is no indication that Nevada
 3    consumer warranty law is particularly complex or uncertain.
 4           Finally, the Court is not persuaded that transfer is necessary to obtain the testimony
 5    of key witnesses. Defendant attached six nearly identical two-sentence declarations from
 6    BMW mechanics residing in Las Vegas to its motion. (Doc. No. 15-5.) Each declarant
 7    stated that they would be unwilling to travel to San Diego to testify in this action. However,
 8    Defendant has not provided sufficient details about these witnesses or their proposed
 9    testimony for the Court to determine whether the witnesses are actually critical to this
10    dispute.   Moreover, as Plaintiff points out, Defendant has not explained why these
11    witnesses could not be deposed in Las Vegas, and have their depositions introduced into
12    evidence at trial. See Fed. R. Civ. P. 32(a)(4)(B) (“A party may use for any purpose the
13    deposition of a witness, whether or not a party, if the court finds[] . . . that the witness is
14    more than 100 miles from the place of hearing or trial . . . .”).
15           In sum, the Court concludes that Defendant has failed to make the “strong showing”
16    required to disturb Plaintiff’s choice of forum. Decker Coal Co., 805 F.2d at 842. The
17    Court therefore denies the motion to transfer.
18    III.   Subject Matter Jurisdiction
19           In its notice of removal, Defendant alleges that the Court possesses subject matter
20    jurisdiction to adjudicate this action pursuant to 28 U.S.C. § 1332 and 15 U.S.C. § 2310.
21    (Doc. No. 1 at ¶ 4.) Section 1332 grants district courts original jurisdiction when, inter
22    alia, the suit is between citizens of different states and the amount in controversy exceeds
23    $75,000 exclusive of interest and costs. 28 U.S.C. § 1332(a)(1), (b). And the Magnuson-
24    Moss Warranty Act grants district courts original jurisdiction to adjudicate claims brought
25    pursuant to the Act provided that the amount in controversy is greater than $50,000,
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28    is no merit to Plaintiff’s contention that his claim is not “based on an underlying state law breach of
      warranty claim.” (Doc. No. 16 at 17.)

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 1    exclusive of interest and costs. 15 U.S.C. § 2310(d)(1)(B), (3)(B).
 2          “[W]hen a defendant removes a complaint to federal court, the defendant’s burden
 3    with respect to the amount in controversy varies depending on the circumstances.”
 4    Edwards v. Ford Motor Co., No. CV 16–05852–BRO (PLAx), 2016 WL 6583585, at *3
 5    (C.D. Cal. Nov. 4, 2016). In cases “where it is unclear or ambiguous from the face of a
 6    state-court complaint whether the requisite amount in controversy is pled,” the “‘removing
 7    defendant bears the burden of establishing, by a preponderance of the evidence, that the
 8    amount in controversy exceeds the jurisdictional amount.’” Guglielmino v. McKee Foods
 9    Corp., 506 F.3d 696, 699 (9th Cir. 2007) (brackets omitted) (quoting Sanchez v.
10    Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996)). “Under this burden, the
11    defendant must provide evidence establishing that it is ‘more likely than not’ that the
12    amount in controversy exceeds that amount.” Sanchez, 102 F.3d at 404. The Court follows
13    the same standards in determining the amount in controversy under both the federal
14    diversity statute and the Magnuson-Moss Warranty Act. Kelly v. Fleetwood Enters., Inc.,
15    377 F.3d 1034, 1037 (9th Cir. 2004).
16          Plaintiff’s complaint does not specify the amount of damages Plaintiff is seeking.
17    And the Court is unable to determine from the present record whether the amount in
18    controversy exceeds $50,000, as required by the Magnuson-Moss Warranty Act, or
19    $75,000, as required by the federal diversity statute. The Court therefore orders the parties
20    to show cause why this case should not be remanded to the Superior Court of San Diego
21    County. See 28 U.S.C. § 1447(c) (“If at any time before final judgment it appears that the
22    district court lacks subject matter jurisdiction, the case shall be remanded.”). Defendant,
23    as the party that bears the burden of proving jurisdiction, shall file a brief addressing this
24    Court’s jurisdiction on or before January 8, 2018. Plaintiff shall file a brief addressing
25    his position on jurisdiction on or before January 16, 2018. The parties shall limit their
26    briefing to fifteen pages, exclusive of the tables of contents and authorities required by
27    Civil Local Rule 7.1(h).
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 1                                            Conclusion
 2          For the foregoing reasons, the Court denies the motion to transfer venue, and orders
 3    the parties to file supplemental briefing addressing this Court’s subject matter jurisdiction.
 4          IT IS SO ORDERED.
 5    DATED: December 12, 2017
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                                                      MARILYN L. HUFF, District Judge
 7                                                    UNITED STATES DISTRICT COURT
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